          Case 1:25-cv-00995-AT              Document 1         Filed 02/04/25   Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
SUN, YUCHEN JUSTIN,                                   :
                                                      :
                           Plaintiff,                 :       Civil Action No.
                                                      :
         -against-                                    :
                                                      :
DAVID GEFFEN and ITHAKA TRUST, :
                                                      :
                           Defendants,                :       COMPLAINT
                                                      :
         -and-                                        :
                                                      :
LE NEZ,                                               :
   a sculpture,                                       :
                                                      :
                           Defendant-in-rem.          :
------------------------------------------------------X

        Plaintiff Sun Yuchen Justin (“Plaintiff”), by and through his undersigned counsel Pryor

Cashman LLP, asserts claims for replevin, conversion and declaratory judgment against

defendants David Geffen (“Geffen”) and Ithaka Trust (“Ithaka”; together at times with Geffen,

“Defendants”), and asserts in rem claims against the world to declare his ownership rights and

clear title to Le Nez (The Nose), a sculpture by the artist Alberto Giacometti, and alleges and states

as follows:

                                          NATURE OF ACTION

        1.       This is an action to recover an artwork by the renowned artist Alberto Giacometti

entitled Le Nez (The Nose), which was stolen from its rightful owner, Plaintiff, and which is

believed to be in the present possession of defendant Geffen in New York.

        2.       Le Nez was stolen from Plaintiff by a former employee named Xiong Zihan Sydney

(“Xiong”). Xiong has confessed to the crime.




                                                          1
         Case 1:25-cv-00995-AT           Document 1        Filed 02/04/25       Page 2 of 17




        3.      Xiong stole Le Nez by holding herself out as the representative of a Singapore-

based entity known as APENFT Foundation Ltd. (“APENFT”), which she falsely identified as the

owner of Le Nez, in a purported transaction with Defendants.

        4.      APENFT is an entity owned by one of Plaintiff’s relatives. APENFT has never

held title to Le Nez.

        5.      In January 2024, Xiong forged Plaintiff’s signature to purported deal documents on

behalf of “APENFT,” then arranged for the illicit transport of Le Nez to New York.

        6.      To further her fraud and theft, Xiong fabricated that a Chinese lawyer named

“Laura Chang” at the Yingke Law Firm in China represented Plaintiff and APENFT for purposes

of the bogus transaction.

        7.      No lawyer named “Laura Chang” (if she even exists) has ever represented Plaintiff

or APENFT.       The Yingke Law Firm has never represented Plaintiff or APENFT.                   Upon

information and belief from the Yingke Law Firm, a lawyer with the same Chinese name as “Laura

Chang” once worked there, but was fired back in 2020.

        8.      Working with art dealers and a lawyer in the United States who apparently had a

preexisting relationship with Defendants, Xiong caused Le Nez to be transferred to Defendants in

exchange for two other artworks purportedly owned by Defendants and allegedly worth USD $55

million (collectively), plus an additional $10.5 million in cash, for a total sale price of $65.5 million

for Le Nez.

        9.      Plaintiff purchased Le Nez for more than $78 million in 2021, and, upon

information and belief, its value has only risen, substantially so, since that time.




                                                   2
        Case 1:25-cv-00995-AT           Document 1        Filed 02/04/25      Page 3 of 17




       10.     In or about 2023, Plaintiff expressed an interest in selling Le Nez for a profit over

his purchase price. Plaintiff has never indicated any willingness to sell Le Nez for less than what

he paid and in any form other than an all-cash (or equivalent) purchase.

       11.     Defendants have wrongfully refused Plaintiff’s demand for the return of Le Nez,

indicating their intention to exploit the situation and to try to prove that – notwithstanding Xiong’s

blatant forgeries and fabrications to which she has confessed, as well as obvious red flags that

Xiong was misrepresenting “APENFT’s” ownership – Xiong somehow acted ‘legitimately’ and

with Plaintiff’s authorization in orchestrating “APENFT’s” sale of Le Nez to Defendants.

       12.     Le Nez was stolen. Defendants either must restitute it or pay very substantial

damages to Plaintiff.

                                             PARTIES
       13.     Plaintiff is an individual who resides in Hong Kong, China.

       14.     Upon information and belief, defendant Geffen is an individual who resides in New

York, New York. Upon information and belief, Geffen is one of the top and most sophisticated

Modern and Contemporary art collectors in the world.

       15.     Upon information and belief, defendant Ithaka Trust is a trust created under the

laws of California, for which, upon further information and belief, Geffen is the sole trustee.

       16.     Upon information and belief, defendant-in-rem Le Nez is a bronze, steel, and iron

sculpture by renowned artist Alberto Giacometti, conceived in 1947-49 and cast in 1965. The

authenticity of this artwork has been confirmed by the Comité Giacometti and it is recorded in the

Alberto Giacometti database as AGD 4329. An image of Le Nez is below:




                                                  3
        Case 1:25-cv-00995-AT            Document 1     Filed 02/04/25     Page 4 of 17




                                JURISDICTION AND VENUE

       17.     Jurisdiction is proper pursuant to 28 U.S.C. § 1332(a).

       18.     In addition, this Court may exercise in rem and quasi in rem jurisdiction in this

matter pursuant to 28 U.S.C. § 1655 because Plaintiff seeks in this suit to remove a cloud on the

title of personal property located in New York, New York.

       19.     This Court has jurisdiction to grant the requested declaratory relief pursuant to 28

U.S.C. §§ 2201, 2202, and 1655.

       20.     Venue is proper pursuant to 28 U.S.C. § 1391(b). Venue is also proper in this

District pursuant to 28 U.S.C. § 1655.

                                             FACTS

Plaintiff, Not APENFT, Has Owned Le Nez Since November 2021

       21.     On or about November 15, 2021, Plaintiff purchased Le Nez at auction from

Sotheby’s in New York, New York for a purchase price of USD $78,396,000.

       22.     At all times since purchasing Le Nez, Plaintiff has owned it personally and solely.




                                                4
          Case 1:25-cv-00995-AT         Document 1       Filed 02/04/25    Page 5 of 17




       23.     Plaintiff is a well-known cryptocurrency entrepreneur and the founder of the TRON

blockchain, a leading global layer-1 blockchain.

       24.     In or about 2021, Plaintiff was actively involved in the then-developing

marketplace for non-fungible tokens (“NFTs”), and wanted to bring attention to and enhance that

market.

       25.     In that regard, Plaintiff advised APENFT, an online NFT marketplace and forum

designed to bring public attention to NFTs and their various uses.

       26.     One use for NFTs that was attracting considerable public interest at the time was

the role that NFTs can play in connection with art.

       27.     Among other things, APENFT offered (and continues to offer) a cyber-exhibition

platform where works of art are virtually displayed on the blockchain.

       28.     Nevertheless, upon information and belief and to Plaintiff’s understanding,

APENFT has never been an art collector or dealer and has never actually owned, bought or sold

any physical art.

       29.     While Plaintiff initially posted on social media that he planned to donate Le Nez to

APENFT, he never actually donated or otherwise transferred it to APENFT, or to any other person

or entity, deciding instead to allow Le Nez to be virtually exhibited by APENFT online.

The Giacometti Fondation’s Exhibition Of Le Nez In Paris In 2023

       30.     In or about 2023, Plaintiff was contacted by the Fondation Alberto et Annette

Giacometti (the “Giacometti Fondation”) with a request that he allow Le Nez to be publicly

exhibited at Institut Giacometti in Paris, France.

       31.     Plaintiff agreed and decided that he would also allow APENFT, which was virtually

exhibiting Le Nez, to share sponsorship credit for the Giacometti Fondation exhibition.



                                                     5
        Case 1:25-cv-00995-AT          Document 1         Filed 02/04/25     Page 6 of 17




       32.     The Giacometti Fondation exhibited Le Nez at Institut Giacometti with an

accompanying wall label stating that it was on “loan from the Justin Sun Collection” (i.e., not from

“APENFT”).

       33.     On or about October 10, 2023, Plaintiff posted on the social media outlet “X” that

“‘Le Nez,’ part of my collection, is on display at Institut Giacometti.”

       34.     The exhibition of Le Nez in France was to occur between October 7, 2023 and

January 14, 2024, after which Le Nez was to be returned to Plaintiff’s storage facility in Singapore.

       35.     Xiong, however, had hatched a scheme to steal Le Nez and sell it, with the intention

of pocketing at least hundreds of thousands of dollars for herself.

Xiong Lays The Groundwork To Steal Le Nez And Sell It To Geffen

       36.     Xiong formerly worked for Plaintiff with the title of a “Freelancer” who offered

“professional skills” “to provide consulting services.”

       37.     Upon information and belief, Xiong was very interested in, and paid considerable

attention to, news and happenings in the art market.

       38.     Xiong was able to provide information to Plaintiff, and to serve as a liaison for

certain commercial projects affiliated with Plaintiff, including those involving art.

       39.     Plaintiff (unlike Geffen) is a relatively new collector of major art and is not as

familiar with the Modern and Contemporary art market.

       40.     Because Plaintiff is not familiar with the names of major international collectors

and other art market participants who may be interested in buying or selling major art at any given

time, he relied on Xiong, who appeared to him to have such background and information.




                                                 6
        Case 1:25-cv-00995-AT           Document 1       Filed 02/04/25      Page 7 of 17




       41.     While Xiong was an advisor to Plaintiff about art market information and a liaison

for him to the art world, she was not a negotiator or business consultant for him or an attorney, and

she had no authority to make deals for Plaintiff (involving art or other assets).

       42.     Xiong was familiar with Plaintiff’s efforts to enhance APENFT’s brand, including

in connection with the Giacometti Fondation exhibition of Le Nez.

       43.     Xiong was also aware that Plaintiff had expressed interest in selling Le Nez.

       44.     Xiong seized on that information to engineer her theft and fraud.

       45.     In or about January 2024, Xiong told Plaintiff that, through her connections, she

thought she might be able to find someone who would be interested in buying Le Nez.

       46.     Even though Xiong was not an art dealer, and Plaintiff did not understand her to be

one, Plaintiff did understand Xiong to have a broad network of connections, and he told her to let

him know if she heard of anyone with interest who would pay over $80 million for Le Nez.

       47.     Plaintiff did not give, and Xiong did not have, authority from Plaintiff to negotiate

a deal with a potential buyer of Le Nez. Xiong had authority only to make inquiries among her

connections to see if she could identify a potential buyer with whom Plaintiff could negotiate.

       48.     Xiong’s connections apparently extended to Geffen, either directly or through

intermediaries named David and Cole Tunkl, who, upon information and belief, are art dealers

who work with Geffen.

Unbeknownst To Plaintiff, Xiong Negotiates With Defendants Under False Premises

       49.     In January 2024, at the conclusion of the Giacometti Fondation exhibition, Le Nez

did not return to Plaintiff’s storage facility in Singapore. Rather, unbeknownst to Plaintiff, Xiong,

upon information and belief, had Le Nez transported from France to an art warehouse in Delaware

under the control of the Tunkls.



                                                  7
        Case 1:25-cv-00995-AT          Document 1       Filed 02/04/25         Page 8 of 17




       50.     Xiong had no authority from Plaintiff to arrange such transfer of Le Nez.

       51.     Also in January 2024, Xiong communicated by e-mail with the Tunkls and with a

New York lawyer named Ralph Lerner (“Lerner”), who identified himself as a lawyer for the

Tunkls, as “an attorney with great experience in the art world,” and as a “facilitator” who could

help arrange a deal for Geffen to acquire Le Nez.

       52.     As Xiong communicated with Lerner, she introduced into the potential transaction

“Laura Chang,” who claimed to be a lawyer for the Yingke Law Firm in China and to represent

Plaintiff and APENFT.

       53.     “Chang,” however, suspiciously corresponded through a “gmail.com” account

instead of using a professional e-mail address.

       54.     At this time Plaintiff does not know if “Laura Chang” is a real person, a real

attorney, or a complete fabrication by Xiong. No such lawyer has ever represented Plaintiff and,

upon information and belief, no such lawyer has ever represented APENFT.                 Nor, upon

information and belief, did any such lawyer work for the Yingke Law Firm in 2024.

       55.     Upon information and belief, Xiong created and personally operated the Gmail

account that purportedly belonged to “Laura Chang.”

       56.     Xiong had no authority from Plaintiff to conduct any substantive negotiations with

the Tunkls and Lerner, or to purport to paper a sale transaction for Le Nez.

       57.     Lerner’s statements show that Xiong and “Chang” had indicated to the Tunkls that

any deal for Le Nez could not involve Plaintiff himself actually having to sign a contract.

       58.     That condition, coupled with “Chang” communicating through a personal e-mail

account, should have raised questions, but Lerner, the Tunkls and Geffen were not dissuaded from

pursuing the transaction.



                                                  8
         Case 1:25-cv-00995-AT           Document 1       Filed 02/04/25      Page 9 of 17




        59.       Instead of questioning and properly documenting any relationship between Plaintiff

and APENFT, Defendants structured the transaction documents to have “Chang” gloss over the

issue of title.

        60.       In particular, Lerner, the Tunkls and Geffen sought cover by telling “Chang” and

Xiong that “Geffen wants [a] letter on your legal stationary saying you are legal counsel to Justin

Sun, there are no liens on the Giacometti and that Justin Sun guarantees the representations and

warranties made by APEN[F]T Foundation in a certain Exchange Agreement dated January __

[sic], 2024; the letter would then be signed by both you and Mr. Sun.” Lerner stated that such a

letter “might satisfy the Geffen group so Justin does not have to sign the Agreement.”

Xiong Manufactures Phony Documents To Satisfy The “Geffen Group”

        61.       Xiong set to work to provide such documentation to Geffen by deceiving Plaintiff

into signing a different document she had prepared. Specifically, on January 23, 2024, Xiong had

Plaintiff sign a letter on behalf of himself addressed to Geffen, Ithaka and Lerner stating that Le

Nez is free and clear of any liens (the “Good Title Letter”). APENFT was nowhere mentioned in

the Good Title Letter.

        62.       Xiong told Plaintiff that such a letter would be a useful first step towards a sale

negotiation with a potential buyer.

        63.       Xiong had been dropping a number of names of potentially interested buyers to

Plaintiff, none of which had any significance to Plaintiff at the time, including the names of Geffen,

Ithaka and Lerner.

        64.       Upon information and belief, Xiong never shared the Good Title Letter with

Defendants or Lerner.




                                                   9
       Case 1:25-cv-00995-AT         Document 1        Filed 02/04/25     Page 10 of 17




       65.     Instead, upon information and belief, Xiong copied Plaintiff’s signature from the

Good Title Letter and fraudulently affixed it as a supposed “acknowledgement” by Plaintiff to a

phony “legal memorandum,” also dated January 23, 2024, from “Chang” and the Yingke Law

Firm that purported, fraudulently, to confirm that APENFT held good, clear and sole title to Le

Nez.

       66.     Upon information and belief, the “legal memorandum” was drafted by Lerner.

       67.     Upon information and belief, and without Plaintiff’s awareness, Xiong provided

the bogus “legal memorandum” to the Tunkls to meet Geffen’s demand for some written evidence

of Plaintiff’s approval and personal guarantee that “APENFT” could sell Le Nez.

       68.     Coincident with the phony “legal memorandum,” Xiong signed on behalf of

“APENFT” a so-called “Exchange Agreement” dated January 23, 2024 between APENFT, as the

purported owner and seller of Le Nez, on the one hand, and Defendants, as the purported buyers

of Le Nez, on the other hand.

       69.     Xiong fraudulently signed the “Exchange Agreement” as the purported “President”

of APENFT. Upon information and belief, Xiong was not the President or an employee of

APENFT.

       70.     According to the “Exchange Agreement,” APENFT purportedly sold Le Nez to

Defendants in exchange for two other artworks owned by Geffen (the “Geffen Artworks”) at a

combined, described fair market value of USD $55 million, with Defendants paying an additional

USD $10.5 million in cash, for a total purported exchange and sale of Le Nez for only USD $65.5

million.

       71.     Inconsistently, and oddly, the initial purported “Bill of Sale” for the transaction

(“Exhibit D” to the “Exchange Agreement”) was dated “January 23, 2024” and indicated that Le



                                               10
        Case 1:25-cv-00995-AT          Document 1       Filed 02/04/25      Page 11 of 17




Nez was “Sold by: Apenft Foundation and Justin Sun” (which, on its face, should have cast further

doubt on Xiong’s ability to have been the sole person signing).

       72.     Upon information and belief, Lerner subsequently changed “Exhibit D” to redact

“Justin Sun” from the “Sold by” line (so that it only read “Apenft Foundation”) and changed the

date to “January 29, 2024,” with the number “29” handwritten in, and asked Xiong to sign that

version instead.

       73.     The purported “Bill of Sale” by Geffen for the Geffen Artworks (“Exhibit C” to the

“Exchange Agreement”) also initially was dated “January 23, 2024” and identified “Apenft Art

Foundation and Justin Sun” as the “Sold to” parties. That, too, was later changed to a date of

“January 29, 2024” (all typewritten) and to remove “Justin Sun” as a “Sold to” party.

       74.     Plaintiff never knew about the “Exchange Agreement” or the “Bills of Sale” and

did not authorize any such purported transaction. Plaintiff never would have agreed to such a

transaction had he been told about it – Plaintiff had expressed interest only in selling Le Nez for a

profit over what he paid and in an all-cash (or equivalent) deal.

       75.     Two months after the fraudulent “Exchange Agreement” was signed, Defendants

suddenly amended the document to re-name Plaintiff as a selling party (together with APENFT).

       76.     In connection with that change, Defendants prepared a purported “Authorization

Agreement” that they told Xiong to have Plaintiff sign.

       77.     There was no reason for Defendants to make these changes if they had no doubts

about the veracity of what Xiong had told them, i.e., that APENFT held sole, clear and good title

to Le Nez.




                                                 11
          Case 1:25-cv-00995-AT       Document 1       Filed 02/04/25      Page 12 of 17




       78.     Defendants also amended their payment terms to have them pay the Tunkls’

company (Ganymede International Inc.) instead of paying APENFT, with the Tunkls then

transferring funds to Xiong personally.

       79.     Upon information and belief, Defendants made these changes at Xiong’s request

because she realized that a direct payment to APENFT would have revealed her scheme. Xiong

also did not have APENFT’s fund transfer information.

       80.     These payment term changes should have been obviously suspicious to Defendants.

       81.     Defendants nonetheless pressed ahead with the amended ‘deal.’

       82.     Xiong copied or forged Plaintiff’s signature to a purported, and equally fraudulent,

“Authorization Agreement” dated March 23, 2024, by which Plaintiff purported to authorize the

“Exchange Agreement” sale of Le Nez.

       83.     None of this was true, and Plaintiff had no knowledge of it.

       84.     Upon information and belief, Le Nez has been shipped to, and installed in, Geffen’s

residence in New York, New York, where, upon information and belief, it remains.

Xiong’s Confession Of Her Theft In December 2024

       85.     In or about May 2024, months after Xiong had already orchestrated her theft and

fraud as described above, she informed Plaintiff that a purported buyer was considering purchasing

Le Nez.

       86.     Xiong identified the purported buyer to Plaintiff at the time as “David Martinez.”

Upon information and belief, there is a well known major art collector named David Martinez.

Upon information and belief, however, that David Martinez had nothing to do with the events

described above involving Le Nez.




                                                12
         Case 1:25-cv-00995-AT        Document 1        Filed 02/04/25     Page 13 of 17




         87.    Xiong told Plaintiff that the purported buyer had provided $10 million as a good

faith, refundable deposit to demonstrate his seriousness so that he could have more time to consider

going ahead with a possible purchase.

         88.    Xiong concealed from Plaintiff all of her activities between January–March 2024,

as described above, and concealed from Plaintiff that a ‘deal’ for Le Nez with Defendants had

already purported to close.

         89.    Upon information and belief, as part of the “Exchange Agreement,” the Tunkls

were holding the Geffen Artworks.        Upon further information and belief, the Tunkls had

transferred $10.5 million in cryptocurrency to Xiong’s crypto wallet, from which Xiong kept

$500,000 for herself and transferred $10 million to Plaintiff’s crypto wallet. The fact that Xiong

was the owner of the wallet transferring $10 million to Plaintiff was not openly disclosed or known

by Plaintiff at the time.

         90.    Upon information and belief, the Tunkls had actually received $13 million from

Defendants.

         91.    Seven months passed without Plaintiff hearing whether the purported buyer had

decided to make an offer for Le Nez or if he wanted his deposit back. Plaintiff was unaware that

Geffen was already living with Le Nez in his home.

         92.    Plaintiff asked Xiong on December 18, 2024 if she knew what was happening with

the purported buyer.

         93.    Xiong’s response was incoherent, and Plaintiff began to worry that something was

amiss.

         94.    Xiong identified the Tunkls to Plaintiff and claimed they were somehow

responsible for the delay.



                                                13
        Case 1:25-cv-00995-AT         Document 1       Filed 02/04/25      Page 14 of 17




        95.    Plaintiff told Xiong to put him in touch with the Tunkls (whom Plaintiff did not

know and whose names, as well as the name of their company, Ganymede, had no significance to

Plaintiff).

        96.    Xiong did so by adding Plaintiff to a WhatsApp chat that she had been having with

the Tunkls.

        97.    On December 18, 2024, Plaintiff wrote into the chat (in imperfect English) that he

was the owner of Le Nez and that he was canceling any deal negotiation due to the prolonged delay.

        98.    Xiong apparently panicked at the realization that the Tunkls were likely to respond

by revealing to Plaintiff the fraudulent “Exchange Agreement” and “Authorization Agreement,”

and, she quickly thereafter confessed her theft of Le Nez and fraud to Plaintiff, and revealed that

Le Nez was now in the hands of Geffen.

        99.    Upon hearing Xiong’s confession, Plaintiff promptly deleted his December 18,

2024 chat message with the Tunkls out of concern that they might have been in on the theft, and

decided that his counsel and the proper authorities should handle the matter.

        100.   By letter dated December 23, 2024, Plaintiff (through counsel) wrote to Defendants

(through their counsel) to explain Xiong’s theft of Le Nez.

        101.   After not hearing back, Plaintiff (through counsel) wrote again to Defendants

(through their counsel) on January 24, 2025 and demanded that Defendants return Le Nez to him.

        102.   Later on January 24, 2025, Defendants (through counsel) wrote back to Plaintiff

(through counsel) and wrongfully refused Plaintiff’s demand.




                                                14
          Case 1:25-cv-00995-AT             Document 1        Filed 02/04/25     Page 15 of 17




                                      FIRST CLAIM FOR RELIEF
                                             (REPLEVIN)

          103.     Plaintiff repeats and realleges paragraphs 1 through 102 above as if fully set forth

herein.

          104.     Plaintiff is the rightful owner of Le Nez.

          105.     Plaintiff is entitled to immediate possession of Le Nez.

          106.     Le Nez was stolen from Plaintiff by Xiong.

          107.     Defendants are wrongfully in possession and control of Le Nez and purport to hold

title to Le Nez.

          108.     Plaintiff has a superior right of possession to Le Nez relative to Defendants.

          109.     Defendants have wrongfully refused Plaintiff’s demand to return Le Nez to him.

          110.     Le Nez is a unique and identifiable work of art.

          111.     Plaintiff is entitled to his restitution of Le Nez.

          112.     Plaintiff is entitled to appropriate statutory prejudgment interest.

                                    SECOND CLAIM FOR RELIEF
                                         (CONVERSION)

          113.     Plaintiff repeats and realleges paragraphs 1 through 102 above as if fully set forth

herein.

          114.     Plaintiff is the rightful owner of Le Nez.

          115.     Plaintiff is entitled to immediate possession of Le Nez.

          116.     Le Nez was stolen from Plaintiff by Xiong.

          117.     Defendants are wrongfully in possession and control of Le Nez.

          118.     Plaintiff has a superior right of possession to Le Nez relative to Defendants.

          119.     Defendants have wrongfully refused Plaintiff’s demand to return Le Nez to him.



                                                      15
          Case 1:25-cv-00995-AT           Document 1        Filed 02/04/25       Page 16 of 17




          120.    Plaintiff is entitled to damages amounting to the lost value of Le Nez and

consequential damages in amounts to be determined at trial, but believed to be in substantial excess

of USD $80 million.

          121.    Plaintiff is entitled to appropriate statutory prejudgment interest.

                            THIRD CLAIM FOR RELIEF
                 (DECLARATORY JUDGMENT UNDER 28 U.S.C. §§ 2201, 2202)

          122.    Plaintiff repeats and realleges paragraphs 1 through 102 above as if fully set forth

herein.

          123.    Plaintiff is the rightful owner of Le Nez.

          124.    Defendants wrongfully maintain that Plaintiff no longer owns Le Nez and that they

(or either of them) are the rightful owners of Le Nez.

          125.    There is a genuine dispute and an actual controversy and disagreement between

Plaintiff and Defendants regarding ownership of Le Nez.

          126.    Plaintiff is entitled to a declaratory judgment that he is the rightful owner of Le Nez.

                              FOURTH CLAIM FOR RELIEF
                      (ORDER QUIETING TITLE UNDER 28 U.S.C. § 1655)

          127.    Plaintiff repeats and realleges paragraphs 1 through 102 above as if fully set forth

herein.

          128.    Plaintiff is the rightful owner of Le Nez.

          129.    Defendants wrongfully maintain that Plaintiff no longer owns Le Nez and that they

(or either of them) are the rightful owners of Le Nez.

          130.    There is a genuine dispute and an actual controversy and disagreement between

Plaintiff and Defendants regarding ownership of Le Nez.




                                                    16
            Case 1:25-cv-00995-AT          Document 1        Filed 02/04/25       Page 17 of 17




            131.   Plaintiff is entitled to an Order quieting title to Le Nez and declaring that Plaintiff,

vis-à-vis the rest of the world, is the rightful owner of Le Nez.



WHEREFORE, Plaintiff Sun Yuchen Justin respectfully prays for relief as follows:

       i.          on his First Claim for Relief, an Order directing restitution of Le Nez to him, plus
                   statutory prejudgment interest;

     ii.           on his Second Claim for Relief, damages in an amount to be determined at trial but
                   believed to be in substantial excess of USD $80 million, plus statutory prejudgment
                   interest;

     iii.          on his Third Claim for Relief, an Order declaring Plaintiff to be the rightful owner
                   of Le Nez;

     iv.           on his Fourth Claim for Relief, and Order quieting title to Le Nez and declaring
                   Plaintiff as Le Nez’s rightful owner; and

      v.           such other and further relief as the Court deems just and proper.


Dated: New York, New York
February 4, 2025                                  PRYOR CASHMAN LLP



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                                                     17
